                       Case 3:24-cv-02311-TSH           Document 36   Filed 09/17/24   Page 1 of 10



                   1   COOLEY LLP
                       BOBBY GHAJAR (198719)
                   2   JOHN HEMANN (165823)
                       JUDD D. LAUTER (290945)
                   3   3 Embarcadero, 20th Floor
                       San Francisco, CA 94111-4004
                   4   Telephone:    (650) 843-5000
                       Email: bghajar@cooley.com
                   5          jhemann@cooley.com
                              jlauter@cooley.com
                   6
                       DAVID CHIU (189542)
                   7   City Attorney
                       JESSE SMITH (122517)
                   8   Chief Assistant City Attorney
                       YVONNE R. MERÉ (173594)
                   9   Chief Deputy City Attorney
                       JULIE VEIT (209207)
               10      CHRISTOPHER STUART (262399)
                       Deputy City Attorneys
               11      City Hall
                       1 Dr. Carlton B. Goodlett Place
               12      San Francisco, California 94102-4682
                       Telephone:     (415) 554-4700
               13      Facsimile:     (415) 554-4757
                       Email: Cityattorney@sfcityatty.org
               14             Jesse.Smith@sfcityatty.org
                              Yvonne.Mere@sfcityatty.org
               15             Julie.Veit@sfcityatty.org
                              Christopher.Stuart@sfcityatty.org
               16
                       Attorneys for Plaintiff
               17      CITY AND COUNTY OF SAN FRANCISCO
               18
                                                      UNITED STATES DISTRICT COURT
               19
                                                NORTHERN DISTRICT OF CALIFORNIA
               20
               21
                       CITY AND COUNTY OF SAN                         Case No. 3:24-cv-02311-TSH
               22      FRANCISCO,
                                                                      DECLARATION OF JESSICA
               23                        Plaintiff,                   WILLIAMS IN SUPPORT OF
                                                                      PLAINTIFF’S MOTION FOR
               24             v.                                      PRELIMINARY INJUNCTION

               25      CITY OF OAKLAND AND PORT OF
                       OAKLAND,
               26
                                         Defendants.
               27
               28      AND RELATED COUNTERCLAIM
COOLEY LLP
ATTORNEYS AT LAW
                       Case 3:24-cv-02311-TSH           Document 36           Filed 09/17/24    Page 2 of 10



                   1          I, Jessica Williams, declare:
                   2          1.      I am an associate with the law firm Cooley LLP, counsel for Plaintiff in this matter.
                   3   I submit this declaration in support of Plaintiff’s Motion for Preliminary Injunction filed by City
                   4   and County of San Francisco (“the City” or “Plaintiff”) against Defendants City of Oakland
                   5   (“Oakland Defendant”) and Port of Oakland (“Port Defendant” or the “Port”, and together referred
                   6   to as “Oakland” or “Defendants”). I declare that the following is true to the best of my knowledge,
                   7   information, and belief, and that if called upon to testify, I could and would testify to the following.
                   8               Background on San Francisco International Airport and its Trademark
                   9          2.      Based on my review of public data published by the City’s airport (“SFO”)
               10      concerning its finances, SFO has earned an average annual operating revenue of approximately $1
               11      billion between 2019 and 2023. Attached hereto as Exhibit A are true and correct copies of
               12      excerpts of relevant Annual Operating Reports published by SFO and available on
               13      https://www.flysfo.com/about/finances. These reports reflect the foregoing.
               14             3.      On or around September 15, 2024, I conducted a search of references to “San
               15      Francisco International Airport” using the “major publications” search available via the legal
               16      research service Lexis. Lexis describes the “major publications” search on its website as containing
               17      “selected prestigious newspapers, newswires, and magazines from around the world." The search
               18      returned over 10,000 separate articles dating between 1975 and the present. A true and correct
               19      screenshot of the excerpts of the first search results is attached hereto as Exhibit B.
               20             4.      On or around September 15, 2024, I conducted a search on Google using the
               21      following combination of the following terms: “san francisco international airport” travel blog. A
               22      true and correct copy of the first three pages of the search results are attached hereto as Exhibit C.
               23             5.      On or around September 12, 2024, I conducted a review of references to San
               24      Francisco International Airport on online materials published by the popular travel publications
               25      Frommer’s and Lonely Planet on their respective websites, https://www.frommers.com and
               26      https://www.lonelyplanet.com/. True and correct screenshots of examples of references to “San
               27      Francisco International Airport” on those websites are attached hereto as Exhibit D.
               28             6.      On September 16, 2024, I conducted a search of the United States Patent &
COOLEY LLP
ATTORNEYS AT LAW


                                                                          1
                       Case 3:24-cv-02311-TSH           Document 36         Filed 09/17/24    Page 3 of 10



                   1   Trademark Office (“USPTO”) records for trademark filings owned by the City. USPTO records
                   2   indicate that the City filed an application for the SAN FRANCISCO INTERNATIONAL
                   3   AIRPORT mark (“the SF Mark”) in connection with “airport services” on September 13, 2011.
                   4   These records also indicate that the mark matured to registration on August 14, 2012, and was
                   5   assigned Registration No. 4,189,396. Attached hereto as Exhibit E is a true and correct screenshot
                   6   of the USPTO’s summary of the prosecution history of the ‘396 registration as well as a copy of
                   7   the registration certificate for the SF Mark.
                   8          7.      According to the same USPTO records, on August 30, 2017, the City submitted its
                   9   combined Declaration of Use and Incontestability under Sections 8 and 15 of the Trademark Act.
               10      The submissions were accepted on September 30, 2017. Attached hereto as Exhibit F is a true and
               11      correct copy of the USPTO’s Notice of Acceptance of the City’s submissions, which I captured
               12      from the USPTO website. The USPTO’s records indicate that the SF Mark is actively registered.
               13                         Background on the Oakland Airport and Its Trademark
               14             8.      In or around September 9, 2024, I conducted a review of the Oakland airport’s
               15      website. According to the webpage located at https://www.oaklandairport.com/business/news-
               16      media/media-kit/oak-backgrounder/, the airport first opened in 1927 and later opened for
               17      commercial activity in 1962. Attached hereto as Exhibit G is a true and correct copy of a
               18      screenshot that webpage.
               19             9.      Also, in or around September 9, 2024, I conducted a search of the USPTO records
               20      for information regarding Oakland’s efforts to register the trademark OAKLAND
               21      INTERNATIONAL AIRPORT. USPTO records indicate that the Port of Oakland applied to
               22      register the OAKLAND INTERNATIONAL AIRPORT mark in connection with “airport services”
               23      on July 9, 2019. In the application, the Port of Oakland claimed first use of the mark in commerce
               24      as early as October 1963. Attached as Exhibit H is a true and correct copy of the Port of Oakland’s
               25      registration certificate for the OAKLAND INTERNATIONAL AIRPORT mark.
               26             10.     Based on my review of USPTO records, on October 1, 2019, the USPTO issued an
               27      office action against the Port of Oakland’s trademark application, initially refusing to register the
               28      OAKLAND INTERNATIONAL AIRPORT mark on the ground that it is primarily geographically
COOLEY LLP
ATTORNEYS AT LAW


                                                                        2
                       Case 3:24-cv-02311-TSH          Document 36          Filed 09/17/24   Page 4 of 10



                   1   descriptive. On April 20, 2020, the Port of Oakland submitted a response to the Office Action
                   2   stating that “OAKLAND INTERNATIONAL AIRPORT has become distinctive of the
                   3   goods/services through the applicant’s substantially exclusive and continuous use of the mark in
                   4   commerce that the U.S. Congress may lawfully regulate for at least the five years immediately
                   5   before the date of this statement.” The USPTO accepted that response, and the application
                   6   proceeded to registration. Attached hereto as Exhibit I is a true and correct copy of the Port of
                   7   Oakland’s office action response.
                   8          11.     On or around September 9, 2024, I also visited the social media accounts of the
                   9   President of the Oakland Port Board of Commissioners Michael Colbruno, including his LinkedIn.
               10      While on his LinkedIn page, I observed a post from August 2024 wherein Mr. Colbruno shared a
               11      shirt made by Port of Oakland interns that was “inspired by [his] tweets that needled SF for suing
               12      us [the Port of Oakland] over the San Francisco Bay Oakland International Airport name change.”
               13      Attached hereto as Exhibit J is a true and correct copy of the post, which I captured from
               14      https://www.linkedin.com/posts/michael-colbruno-ab9393_aviation-activity-
               15      7217508966900097025-Hwjk/?utm_source=share&utm_medium=member_desktop.
               16             12.     On or around September 13, 2024, I reviewed recordings of the Oakland Board of
               17      Port Commissioners (“Board”) meetings concerning the rebranding of the Oakland International
               18      Airport, which took place on April 11, 2024, and May 9, 2024, and which are published on the
               19      website located at https://www.portofoakland.com/board/board-meetings/. Based on my review of
               20      these recordings, several individuals expressed opposition to or concern about the name change
               21      including the NAACP and its Oakland chapter, local frequent flyers, and Oakland residents; they
               22      cited the Board’s failure to engage the Oakland community prior to the change, erasure of Oakland
               23      identity, and likelihood of confusion among the reasons for their opposition. During the April 11,
               24      2024 meeting, the Board voted unanimously in favor of the motion renaming the Oakland airport
               25      under the SAN FRANCISCO BAY OAKLAND INTERNATIONAL trademark. The Board also
               26      approved a motion to hold the second reading of the ordinance to take place four weeks after the
               27      initial reading (May 9, 2024), rather than the customary 2 weeks after the initial reading, citing a
               28      desire to allow input from stakeholders whom the Board had not previously engaged. Based on my
COOLEY LLP
ATTORNEYS AT LAW


                                                                        3
                       Case 3:24-cv-02311-TSH          Document 36          Filed 09/17/24      Page 5 of 10



                   1   review and understanding of the May 9 meeting, the name change was approved during that
                   2   meeting.
                   3                                 Oakland’s Use the New Trademark
                   4          13.     On or around September 9, 2024, I reviewed the Oakland airport website for its use
                   5   of the International Air Transport Association (“IATA”) code OAK when using the SAN
                   6   FRANCISCO BAY OAKLAND INTERNATIONAL AIRPORT mark (called the “Infringing
                   7   Mark” in the City’s brief and that term is used here for consistency).
                   8          14.     During this review, I observed that Oakland does not always refer to the Infringing
                   9   alongside the IATA code. For example, in press releases, the Infringing Mark often appears in the
               10      title of the release without the code. Attached hereto as Exhibit K are true and correct screenshots
               11      of examples of press releases wherein the Infringing Mark is not displayed alongside the IATA
               12      code OAK.
               13             15.     On or around September 9, 2024, I also reviewed several popular websites used for
               14      booking flights, including but not limited to Expedia, TripAdvisor, Google Flights, Agoda, and
               15      Skyscanner, among others. I also reviewed the websites of popular car rental services, such as
               16      Enterprise and Budget, and the rideshare app Uber. As to each, I observed that the IATA code
               17      OAK is often displayed only after the Infringing Mark or the OAKLAND INTERNATIONAL
               18      AIRPORT mark, if at all. I also observed a number of published articles referring to the Oakland
               19      airport that do not refer to the airport’s IATA code or display the airport’s logo. True and correct
               20      screenshots of these websites, example articles, and/or mobile applications are attached hereto as
               21      Exhibit L.
               22             16.     I also conducted a Google search on or around September 9, 2024, for “SAN
               23      FRANCISCO BAY AIRPORT.” The first result in response to that search was the City’s
               24      Wikipedia page, followed by Oakland’s website and the City’s website for SFO. In addition, SFO
               25      is prominently referenced in multimedia search results on the right side of the search results. A
               26      true and correct screenshot those search results is attached hereto as Exhibit M.
               27             17.     I reviewed the Oakland airport’s social media accounts and websites from my
               28      mobile phone. On X (fka Twitter), the Infringing name truncates in some instances to “San
COOLEY LLP
ATTORNEYS AT LAW


                                                                        4
                       Case 3:24-cv-02311-TSH         Document 36          Filed 09/17/24   Page 6 of 10



                   1   Francisco Bay O…” A true and correct screenshot of truncated Infringing Mark on X is attached
                   2   hereto as Exhibit N.
                   3          18.    I also reviewed other references to Oakland’s airport online via mobile. Below is a
                   4   true and correct screenshot of a reference to SFO in Google search results displaying a truncated
                   5   version of the Infringing Mark under the “Explore more” banner.
                   6
                   7
                   8
                   9
               10
               11
               12
               13
               14
               15
               16
               17
               18                                     The City’s Evidence of Confusion

               19             19.    In or around September 2024, I conducted searches across several social media

               20      platforms to identify confusion resulting from the Oakland airport’s name change. Based on these

               21      searches, I observed several instances of consumer confusion, each of which I captured screenshots

               22      of, discussed below.

               23             20.    As a part of this review, I reviewed a reddit post in which a user identified as

               24      “orangecatsocialclub” represents that they “picked the wrong airport” despite having flown to both

               25      “many times.” Attached hereto as Exhibit O is a true and correct screenshot of this post.

               26             21.    I also reviewed several posts on Facebook in which users expressed confusion

               27      caused by the Oakland airport’s name change. Attached hereto as Exhibit P is a true and correct

               28      screenshot of a post by Facebook user Steve Olsch in response to an August 6, 2024 Facebook post
COOLEY LLP
ATTORNEYS AT LAW


                                                                       5
                       Case 3:24-cv-02311-TSH          Document 36          Filed 09/17/24    Page 7 of 10



                   1   by the Port, in which Mr. Olsch expresses confusion about the relationship between the parties’
                   2   airports.
                   3           22.    Attached hereto as Exhibit Q is a true and correct screenshot of a post by Facebook
                   4   user Jen Pilot in response to a July 19, 2024 Facebook post by the Port, in which Ms. Pilot expresses
                   5   confusion about the relationship between the parties’ airports.
                   6           23.    As a part of this review, I also looked at posts on Instagram. I observed several
                   7   Instagram posts in which individuals located at the City’s airport tagged their photo using the
                   8   Infringing Mark. True and correct screenshots of these posts are attached hereto as Exhibit R.
                   9           24.    On September 5, 2024, the San Francisco Bay area media outlet SFGATE published
               10      an article entitled “OAK Flyers Are Mistakenly Going to SFO Following Airport Rebrand” by Silas
               11      Valentino. A true and correct copy of the article is attached as Exhibit S, which I collected from
               12      the following URL: https://www.sfgate.com/travel/article/sfo-tracks-passenger-confusion-oak-
               13      name-change-19742827.php.
               14              25.    A user of the social media app Threads described, in response to the SFGATE article,
               15      having witnessed a woman at SFO who was having a hard time understanding that she unwittingly
               16      purchased a ticket to depart from Oakland. A true and correct screenshot of this post is attached
               17      hereto as Exhibit T.
               18              26.    Another commenter, posting on an SFist article discussing the SFGATE piece,
               19      described how a non-native-English speaking member of his partner’s family was confused trying
               20      to book tickets to SFO for a wedding, and had to be picked up from the Oakland airport. A true and
               21      correct screenshot of this post is attached hereto as Exhibit U.
               22              27.    Multiple individuals described confusion in response to an Instagram post about the
               23      SFGATE article. One individual described how someone they know “is flying into town tomorrow
               24      for the first time and accidentally went to sfo [sic] instead of Oakland,” while another nearly
               25      reserved transit to the Oakland airport via the rideshare app Lyft, intending to get a ride to SFO. A
               26      true and correct screenshot of these posts are attached hereto as Exhibit V.
               27              28.    In several other instances, commenters responding to a Facebook post about the
               28      SFGATE article described situations in which they or their friends and family were directed to the
COOLEY LLP
ATTORNEYS AT LAW


                                                                        6
                       Case 3:24-cv-02311-TSH          Document 36          Filed 09/17/24   Page 8 of 10



                   1   wrong airport by digital assistants and rideshare apps. True and correct screenshots of these posts
                   2   are attached hereto as Exhibit W.
                   3                          Use of Certain Brands in the Air Travel Industry
                   4          29.     On or around September 9, 2024, I consulted data available from the Bureau of
                   5   Transportation Statistics concerning the largest airlines by domestic market share. The top 5
                   6   airlines in this category from June 2023 – May 2024 are Delta, American, Southwest, United, and
                   7   Alaska. Attached herewith as Exhibit X is a true and correct copy of a screenshot of this data
                   8   collected from https://www.transtats.bts.gov/.
                   9          30.     On or around September 16, 2024, I searched trademark records for trademark
               10      filings owned by American Airlines. I observed that American Airlines owns Registration No.
               11      4939082 for the trademark AMERICAN AIRLINES covering, among other things, “air transport
               12      of passengers, cargo, and freight” in Class 39. USPTO records associated with Registration No.
               13      4,939,082 indicate that American Airlines claimed acquired distinctiveness in the AMERICAN
               14      AIRLINES mark after the application was refused on March 11, 2015, on the ground that it is
               15      geographically descriptive. Attached hereto as Exhibit Y is a true and correct screenshot of
               16      relevant excerpts of the USPTO’s summary of the prosecution history of Registration No.
               17      4,939,082 as well as a copy of the March 11, 2015 office action.
               18             31.     On or around September 16, 2024, I searched trademark records for trademark
               19      filings owned by Southwest Airlines. I observed that Southwest Airlines owns Registration No.
               20      1738670 for the trademark SOUTHWEST AIRLINES covering, among other things,
               21      “transportation services; namely, transportation of cargo and passengers by air” in Class 39.
               22      USPTO records associated with Registration No. 1,738,670 indicate that Southwest Airlines
               23      claimed acquired distinctiveness in the SOUTHWEST AIRLINES mark. Attached hereto as
               24      Exhibit Z is a true and correct screenshot of the USPTO’s summary of the prosecution history of
               25      Registration No. 1,738,670.
               26             32.     On or around September 16, 2024, I searched trademark records for trademark
               27      filings owned by Alaska Airlines. I observed that Alaska Airlines owns Registration No. 1561416
               28      for the trademark ALASKA AIRLINES covering, among other things, “air transportation services”
COOLEY LLP
ATTORNEYS AT LAW


                                                                        7
                       Case 3:24-cv-02311-TSH           Document 36          Filed 09/17/24     Page 9 of 10



                   1   in Class 39. USPTO records associated with Registration No. 1,561,416 indicate that Alaska
                   2   Airlines claimed acquired distinctiveness in the ALASKA AIRLINES mark. Attached hereto as
                   3   Exhibit AA is a true and correct screenshot of the USPTO’s summary of the prosecution history
                   4   of Registration No. 1561416.
                   5          33.       I        also        conducted             a          review           of    the
                   6   Airports Council International 2023 Airport Traffic Summary            data     available    from
                   7   https://airportscouncil.org/. According to this data, the U.S. airports with the highest volume of
                   8   passengers in 2023 were: (1) Hartsfield-Jackson Atlanta International, (2) Dallas/Fort Worth
                   9   International, (3) Denver International, (4) Los Angeles International, and (4) Chicago O’Hare
               10      International.
               11             34.       On or around September 16, 2024, I searched trademark records for trademark
               12      filings associated with the Denver International Airport. I observed that The Department of
               13      Aviation, City and County of Denver Colorado (“Denver”) owns Application No.
               14      9,814,9421 for the trademark DENVER INTERNATIONAL AIRPORT “airport services” in Class
               15      39. USPTO records associated with the application indicate that Denver claimed acquired
               16      distinctiveness in the DENVER INTERNATIONAL AIRPORT mark after the application was
               17      refused on March 26, 2024, on the ground that it is geographically descriptive. Attached hereto as
               18      Exhibit BB is a true and correct screenshot of the USPTO’s summary of the prosecution history of
               19      the application as well as a copy of the March 26, 2024 office action.
               20             35.       On or around September 16, 2024, I searched trademark records for trademark
               21      filings associated with the Dallas/Fort Worth Airport.          I observed that Dallas/Fort Worth
               22      International Airport Board (“Dallas”) does not own any trademark filings for DALLAS/FORT
               23      WORTH INTERNATIONAL AIRPORT.                          However, it does own Registration No.
               24      7,502,461 for the trademark DFW AIRPORT for “airport services” in Class 39. USPTO records
               25      associated with the registration indicate that Dallas claimed acquired distinctiveness in the DFW
               26      mark after the application was refused on May 6, 2024, on the ground that it is geographically
               27      descriptive. Attached hereto as Exhibit CC is a true and correct screenshot of the USPTO’s
               28
COOLEY LLP
ATTORNEYS AT LAW


                                                                         8
                       Case 3:24-cv-02311-TSH           Document 36        Filed 09/17/24     Page 10 of 10



                   1   summary of the prosecution history of the application as well as a copy of the May 6, 2024 office
                   2   action.
                   3             36.    On August 27, 2024, the City and Oakland held a mediation before former
                   4   Magistrate Judge Elizabeth D. LaPorte.
                   5
                   6             I declare under penalty of perjury that the foregoing is true and correct. Executed on this
                   7   17th day of September, 2024, in Washington, D.C.
                   8
                   9
                                                                              Jessica Williams
               10
               11
               12
               13
               14
               15
               16
               17
               18
               19
               20
               21
               22
               23
               24
               25
               26
               27
               28
COOLEY LLP
ATTORNEYS AT LAW


                                                                          9
